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STATE OF MINNESOTA                                                        DISTRJCT COURT

COUNTY OF DAKOTA                                               FIRST JUDICIAL DISTRICT


Jeffrey Weisen.
                                                           Court File No.:

              Plaintiff.                                   COMPLAINT
vs.

M.G .M. Wine & Spirits. Inc . d/b/a
MGM Wine and Spirits and
SPIRITS PROPERTIES.

              Defendants.


       Plaintiff. by and through his undersigned counseL bring this action against M .G .M .

Wine & Spirits, Inc . d/ b/a MGM Wine and Spirits and SPIR1TS PROPERTIES. for

violations of the Americans With Disabilities Act, 42 U.S.C.    s 1218 I , et seq. (the "ADA .. )
and its implementing regulations, and allege as follows:

                                      INTRODUCTION

       l.     T his case concerns Defendants' fodera1 statutory obligation to ensure its

facility becomes. and remains, compliant with the ADA. Accordingly , Plaintiff seeks: 1)

remediation of the unlawfi.11 architectural bmTicrs described below: and 2) modification of

Defendants' ADA related policies, procedures. and practices in order to ensure that the

facility remains ADA compliant.       Plaintiff al so seeks a nominal monetary award. his

reasonable attorneys· fees . litigation expenses, and costs, and such other relief as is deemed

_just and proper. and/or is allowable under Title III of the ADA
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       2.      ·rhe ADA, enacted in 1990, is the central civil rights law protecting people

with disabilities. a group of Americans who are too often overlooked and undervalued . The

ADA uses different means than other civil rights lavvs, but the purpose of the laws is the

same: the eradication of discrimination. As one legal scholar explained: A single step in

front of a store may not immediately call to mind images of Lester Maddox standing in the

door of his restaurant to keep blacks out. But in a crucial respect they are the same, for a

step can exclude a person who uses a wheelchair just as surely as a no-blacks-allowed rule

can exclude a class of people. Samuel Bagenstos, The Perversity of limited Civil Rights

Remedies: The Case of ''Abusive" ADA Litigation, 54 UCLA L. Rev. 1, 23 (2006).

       3.     Though disability rights laws are supposed to prevent the continued isolation

and segregation of people with disabilities in the same tradition as other civil rights laws,

some appear to regard disability rights requirements - particularly those involving physical

access requirements. such as ramps and hand rails - as different, and less important, than

other civil rights. The Case of "Abusive" ADA lirigation. supra. at 24 . Some also appear

to assume that ADA cases are abusive or unnecessary drains on courts; but private

enforcement is central to accomplishment of the ADA 's rightful purposes and, as has been

demonstrated repeatedly, compliance docs not happen without the credible threat of private

enforcement. Id. at 9.

       4.     Title III of the ADA prohibits discrimination by places of "public

accommodation.'· as that term is defined by 42 U.S.C. § 12181 (7). It requires places of




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public accommodation to be readiJy accessible to, an independently usable by, individuals

with disabilities. 42 U.S.C. § 12 I 82.

            5.   Under 28 C.F.R. § 36.201 (b) both the landlord who owns a building that

houses a place of public accommodation and the tenant who owns or operates a place of

public accommodation subject to the requirements of the ADA.

            6.   Violation of the ADA 's standards of accessible design are actionable

violations of the act. See e.g. , Oliver v. Ralphs Grocery Co ., 654 F .3d 903, 905 (9 th Cir.

20 I l ).

            7.   Plaintiff seeks a pennanent injunction. pursuant to 42 U.S.C. § I 2188(a)(2)

and 28 C.F.R. § 36.504(a) directing Defendants to make readily achievable alterations to

their facility so as to remove architectural barriers to access and make their faciJity fully

accessible to and independently usable by individuals \Vith disabilities in accordance with

the requirements of the ADA.

            8.   In addition to remediation of the architectural ban-iers above. injunctive relief

as to Defendants' ADA related policies, procedures and practices is required to ensure

Defendants' facility remains ADA compliant under 42 U.S .C. § I 2 I 88(a) (2) and 28 C.F.R.

§ 36.211 and 36.501.

            9.   The violations in this case are clear and correcting them would involve only

minimal expense -- yet Defendants have failed to identify and correct the violations even

though the ADA ,vas enacted 28 years ago. This speaks clearly to the inadequacy of




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Defendants ' ADA related policies, procedures and practices and underscores the

importance of this portion of Plaintiffs' claim.

       10.     Without adequate policies, practices and procedures in place. there is no

assurance that the accessible features in the facility \viii remain operable and compliant,

and no assurance that Defendants will stay abreast of their ADA related obligations under

the law.

       11 .    Plaintiff also seeks a nominal monetary award in accordance with authority

including Tayler Bayer v. Ne iman Marcus Group. Inc. , No. 15-15287 (9 th Cir. 2017) and

his reasonable attorneys· fees, litigation expenses. and costs of suit pursuant to 42 U.S.C.

§ 12205. 28 C.F.R. § 36.505 and such other relief as is deemed just and proper. and/or is

allowable under Title Ill of the ADA.

       12.     Despite passage of the ADA more than 25 years ago. to thi s date. Defendants '

property is not fully accessible to, and independently usable by, persons with disabilities .

Defendants have failed to remove architectural barriers and take the actions c learl y

required of it by the ADA. even though such actions are readily achievable. Defendants·

conduct constitutes an ongoing and continuous violation of the law.

                              JURISDICTION AND VENUE

       13.    Jurisdiction of this Court arises under Title Ill of the Americans with

Disabilities Act (the ADA). 42 U.S.C. ~§ 12181-12189, which provides for concurrent

state and federal court jurisdiction. r edcral jurisdiction arises under 28 U.S .C . §§ 1331 and

l 343(a)(3) because this action includes federal law claims brought pursuant to Title Ill of

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the ADA. The Court also has jurisdiction to issue a declaratory judgment pursuant to 28

l ..,..s·.c. :-,~' 11      . dF edR . c··.1v. p . :,-7 an d;or
                   --'- 01 an                              ' M'. mn. s            · seq. an dM'mn.
                                                                           s---01 el.
                                                                     , tar.~))).                . R . (''.1v.

Pro. 57.

        14.     Venue in th is j udicia I district is proper because Defendants are located in and

transact business within this judicial di strict and have sufficient contacts to be subject to

personal jurisdiction in this judicial district. and because this is the judicial district in which

the acts and omissions giving rise to the claims occurred.

                                                PARTIES

        l 5.     Plaintiff Wcisen suffers from paraparesis of both lower limbs. neurogenic

bladder. and chronic pain. among other things. Mr. \Veisen is fully dependent upon the

use of a ,vheelchair or motor scooter. Mr. Wei sen suffers from. and all times relevant hereto

has suffered from. a legal disability as defined by the ADA, 42 l.J.S.C.               ~   l 2102(2). He is

therefore a member of the protected class under the ADA and the regulations implementing

the ADA set forth at 28 C.F.R.       ~   36.10 I et. seq.

        16.     Jeffrey Weisen has an acute understanding of the discrimination people with

disabilities regularly encounter when businesses ignore the ADA - and the humiliation.

embarrassment. stigma. physical di scorn fort. stress. strain. fatigue and isolation from

friends and family that results . Mr. Weisen is also well-aware of the hendits for the

disabled when responsible business owners take the ADA's requirements seriously. Mr.

Wcisen is very much committed to doing all that he can to help himself. and other di sabled




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people, by pursuing a cause - holding businesses accountable for ignoring the ADA - that

others may turn away from.

       17.        Jeffrey Weisen, age 58 , resides in Minnesota.     He regularly frequents

businesses in the Tv;in Cities Metropolitan and surrounding area (Area) including

restaurants. convenience stores, general stores, grocery stores and other businesses - and

has done so for years and years. The ability to independently patronize businesses in the

Area is important to Mr. Weisen and his quality of life ; it enables him to obtain necessary

goods and services and allows him to interact with the community, which is a critical social

outlet for him.

       18.    Compliance with Title l1J is critical for the disabled community. If for

example. a toilet is not accessible with adequate maneuvering space, grab bars, etc. the

disabled either cannot toilet or cannot do so without assistance. Disabled individuals have

been forced to urinate and defecate on themselves because a place of public

accommodation did not have an accessible toilet. Similarly , without a properly striped

parking lot including accessible parking and an accompanying access isle. disabled

individuals face the threat that another may park so close to the vehicle he or she is

travelling in that he or she will be unable to access that vehicle until the car parked beside

it is moved, or without excessive struggle and risk of injury. Improper slopes al parking

spaces and access aisles can result in a vvheekhair rolling away from a disabled individual

while transitioning from their vehicle and cause risk of injury. Improper slopes along

access routes and sidewalks can make access difficult. taxing, cause physical discomfort,

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and puts the di sabled individual at risk for injury. And without an accessible entrance.

disabled individuals arc excluded from independent access to the premises entirely.

       19.    Defendant M.G.M. Wine & Spirits. Inc. d/h/a MGM Wine and Spirits

('· MGM"') owns and/ or operates MGM and/or is the lessee of the real property upon which

it is located at IO 12 County Road 42. West. Burnsville, MN. a pl ace                or   public

accommodation within the meaning of the ADA.

       20.   Defendant SPIRITS PROPERTIES. owns and/or is the lessor of the real

property upon which MGM is located. a place of public accommodation ,vi thin the

meaning ol'the ADA.

                            ARCHITECTURAL BARRIERS

       21.    Within the applicable limitations period, Mr. Wciscn patronized MGM,

encountered and "vas subjected to di scriminatory barriers which hindered his ability to

patroni7.e the business. including. but not necessarily limited to. the following:

       a.     lack of requisite type. numher, and properly striped disabled parking tall(s)

in violation of the applicable standards:

       b.     disabled parking signage in front of '·Honest 1 Auto Care·· was too low and

a ponion of the access aisle and/or disabled parking stall is too steep. in violation of the

applicable standards ;

       c.      the access aisle in from of·'Thc Great Frame Up.. has irnpermissihle vertical

threshold changes in level greater than l /4 inch when.:: the curb cut meets the concrete




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sidewalk. and the slope of the curb ramp 1s too steep, m violation of the applicable

standards: and

       g.       the curb ramp in front of '·Orangetheory Fitness .. , the access point which is

closest to rhe entrance to MGM. projects into parking access ais les and is too steep, in

violation of the applicable standards :

                           POLICIES, PROCEDURES, ANO PRACTICES

       22.      In addition to remediation of the architectural barriers above. injunctive relief

as to Defendants' ADA related policies, procedures and practices is required to ensure

Defendants· facility remains ADA compliant under 42 U.S.C. § I 2 l 88(a) (2) and 28 C.F .R.

9 36.211    and 36 .501.

                Defendants' ADA related policies, procedures. and practices arc inadequate.

       24 .     The violations in this case are clear and correcting them would involve only

minimal expense -- yet Defendants have failed to identify and correct the violations even

though the ADA was enacted 28 years ago . This speaks clearly to the inadequacy of

Defendants· ADA related policies, procedures and practices and underscores the

importance of thi s portion of Plaintiff's claim.

                Without adequate policies, practices and procedures in place, there is no

ass urance that the accessible features in the facility will remain operable and complaint,

and no assurance that Defendants will stay abreast of their ADA related obligations under

the law.




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          26 .   The above listing is not to be considered all-inclusive of the barriers and

violations of the ADA which exist at the facility. In order to fully identify all of the

discriminatory conditions at the facility, Plaintiff requires an inspection which will be

sought in the discovery phase of this litigation.

          27.    Compliance with the ADA is required by 42 U.S.C. § l 2182(b )(2)(A)(iv)

because remedying the barriers identified is readily achievable due to the lack of difficulty

and low cost of remedying the barriers. Some of the above-listed violations can be

remedied through the same measures prescribed by federal regulat.ion as examples of

modifications that are '·readily achievable ... 28 C.F.R. § 36.304(b).

          28.    Compliance is also readily achievable due to the significant assistance

avai !able to businesses. Section 44 of the 1RS Code allows a Disabled Access tax credit

for small businesses with 30 or fewer full-time employees or with total revenues of$ I

million or less, which is intended to offset the cost of undertaking barrier removal and

alterations to improve accessibility. Section 190 of the IRS Code provides a tax deduction

for businesses of all sizes for costs incurred in removing architectural ban-iers, up to

$15,000. Sec ADA Update: A Primer for Small Business,

http ://w,v,v .ada .gov/regs2010/smallbusiness/smallbusprimcr?O I 0.htm#tax (Mar. I 6,

2011 ).

          29.    As a person ,vith a disability, Mr. Weisen has a personal interest in having

full and equal access to places of public accommodation and to the goods, services,

faci Ii ties. privileges , advantages or other things offered therein.

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       30.    Mr. Weisen is not able to access the facility independently on a full and equal

basis and is excluded from full and equal enjoyment of the goods. services. privileges.

advantages. and/or accommodations offered therein because of his disabilities and due to

the barriers to access and violations of the ADA that exist at Defendants· facility.

       31 .   Mr. Weisen lives near to the facility . Mr. Wcisen intends to patronize the

facility in the future, although the un lawful barriers described herein prevent him from

being able to do so independently and deter him from doing so. Jeffrey Weisen·s condition

varies and. depending on the status of his condition on a given day. he is sometimes

dependent upon having someone take him to or accompany him when he visits places. This

limits his ability to make definitive plans to return to a place on a specific date . But be

regularly patronizes businesses in the vicinity of the facility and would return to patronize

the facility in the imminent future but for the barriers described herein .

       32.    The \·iolations discussed above presently deter and discourage Mr. Weisen

from returning to the facility for reasons including. but not necessarily limited to. the

following: the above-referenced violations make it difficult or impossible for him to

patronize the facility unless he twists. struggles nnd strains himself or obtains help from

others: and puts him at risk   or injury. All of these things negatively affect Mr.        Wcisen ' s

sense or independence and can lead to humiliating accidents. derisive comments.

embarrassment. a loss of dignity, and feelings      or being stigmati1ecl as cli ffcrent or inferior.
       33.    Mr. Weisen \Viii return and patronize the facility without hesitation when the

barriers identified herein have been removed or L:ured: and he will return within the next

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year in any event. albeit not independently. because it is located in an area he regularly

socializes in and because he is interested in checking on the Defendants· ADA compliance

and that of other similar businesses as a tester in hopes to thereby increase accessibility for

the disabled.

       34.      Defendants have intentionally maintained the facility in a condition that

violates the ADA for reasons including, but not limited to, the following: the ADA ,vas

passed in 1990 and has been well publicized; the above-described barriers are intuitive and

obvious; ADA Title III compliance information and assistance is readily available, at no

cost (see e.g., ada.gov); Defendants exercised control over the conditions at the facility;

and Defendants have and continues to maintain the facility in a condition that does not

comply with the easily understandable accessibility design standards that apply here and

'-'Vhich can be achieved at modest expense.

       35.      Jeffrey Weisen is without adequate remedy at law, has suffered and is

suffering iJTeparable harm. and reasonably anticipates that he will continue to suffer

irreparable harm upon his planned retum visit to the facility unless and until Defendants

arc required to remove the architectural ban-iers to equal and independent access and ADA

violations that exist at Defendants· place of public accommodation. including those set

forth specifically herein.

       36.      Absent injunctive relief, Defendants· unlawful conduct herein described ,vii]

continue to cause injury to Plaintiff and other disabled individuals. who will continue to be

unable to independently access the facility and/or to enjoy the goods. services. privileges.

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advantages andJor accommodations offered therein on a full and equal bnsis. in vi olation

of the rights ensured to the disabled by the ADA.

    FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICAN'S WITH
                 DISABILITIES ACT, 42 U.S.C. §§ 12101

         3 7.   Plaintiff incorporates and re-alleges the paragraphs above.

                        Denial of Full and Equal Enjoyment and Use

         38.    Section 302(a) of Title III of the ADA. 42 U.S.C. §§ 12101 et seq .. provides

that --No individual shall be discriminated against on the basis of disability in the full and

equal    enjoyment      of the   goods.   services.   facilities.   privileges.   advantages.   or

accommodations of any place of public accommodation by any person who o,vns. leases

(or leases to ), or operates a place of public accommodation."

         39.    A public accommodation under the ADA includes. inter alia. ··sales

establishment s.. and '·a restaurant. bar, or other establishment serving rood or drink." 42

U. S.C. § 11182 (7) .

        40 .    Defendants have discriminated against Plaintiff and others by their failure lo

make their place of public accommodation fully accessible to persons with disabilities on

a hill. equal , and independent basis in violation of42 U.S.C. § 12l 82(a) and the regulations

promulgated thereunder as described above.

        41.     Mr. Weisen has been denied full and equal access to the facility and has been

denied the opportunity to participate in or benefit from the goods. services. facilities,

priv ileges, advantages. or accommodations on a full and equal basis .


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              Failure to Remove Architectural Barriers in an Existing Facility

       42 .     The ADA specifically prohibits the failure to remove architectural barriers in

existing facilities where such removal is readily achievable under 42 U.S.C. § 12182

(b)(2)(A)(iv) and 28 C.F.R. § 36. l 04 .

       43.      Even when an entity can demonstrate that removal of a barrier is not readily

achievable. it must nevertheless provide for the full and equal enjoyment of the goods,

services, facilities. privileges, advantages, or accommodations goods available through

alternative means, if alternative means are readily achievable. 42 U.S.C. § ~2~

(b)(2)(A)(v).

       44.      Plaintiff a11eges that removal of the barriers at the facility is readily

achievable.

       45 .     Jn the alternative. to the extent the removal of any or all of the barriers at

issue is not determined to be readily achievable, Plaintiff alleges that Defendants violated

the ADA by failing to make the required goods. services, etc. equally available to the

di sabled through alternative means.

       46.      To the extent that the facility was designed and constructed for first

occupancy after January 26. 1993. Plaintiff alleges that removal of the barriers at the

facility is not structurally impracticable under 42 U .S .C. § 12182 (b )(2 )(A)(v) .

       4 7.     To the extent that the facility was altered after January 26. I 992 (including.

but not limited to, any remodeling, renovation, reconstruction, historic restoration . changes

or rearrangement in structural parts or clements. and changes or rearrangements in the

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configuracion of walls and full-height partitions) Plaintiff alleges that that the facility is not

accessible to the disabled to the maximum extent feasible under 42 U.S.C . § 12 183 (a)(2).

                      Inadequate Policies, Procedures, and Practices

       48.     ADA Title HI entities have an ongoing duty to review their places of public

accommodation for compliance and to rcmcdiate non-compliance as required.

       49.     Defendants' ADA related policies. procedures. and practices are inadequate.

       50.     Defendants' policies. procedures. and practices (including. but not limited to.

those ensuring the identification and remedi ation of prohibited barriers. maintenance or

accessible features. training and future compliance) are inadequate to ensure ongomg

compliance with the ADA and therefore must be modified accordingly.

       51.    The violations in thi s case are clear and coJTecting them would involve on ly

minimal expense -- yet Defendants have failed to identify and correct the violations even

though the ADA was enacted 28 years ago. This speaks clearly to the inadequacy of

Defendants' ADA related policies, procedures and practices and underscores the

importance or this portion of Plaintiffs claim.

       52.    Without adequate policies. practices and procedures in place. there is no

assurance that the accessible features in the lacility will remain operable and complaint.

and no assltrance that Defendants will stay abreast of their ADA related ob ligations under

the law.




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          53.     Defendants have and continues to discriminate against Plaintiff and others

by their failure to adopt and implement adequate ADA related policies. procedures and

practices.

          54.     Injunctive relief as to Defendants' ADA related policies. procedures and

practices is required to ensure Defendants· facility remains ADA compliant under 42

U.S .C.   ~   12 I 88(a) (2) and such other applicable legal authority.

                                    Nominal Monetary Award

          55.     Plaintiff alleges a righr to a nominal monetary award as equitable injunctive

relief in accordance with authority including Tayler Bayer v. Neiman A1arcus Group. Inc ..

No. 15-15287 (9'11 Cir. 2017) and such other authority as may be applicable.

                                    Attornevs' Fees and Costs

          56 .    Plaintiff has retained the undersigned counsel for the filing and prosecution

of this action. and arc entitled to recover reasonable attorneys' fees. litigation expenses and

costs from Dt:fendants. pLtrsuant to 42 U.S.C. S§ I 2205. 12117 and 28 C.F .R. § 36.505, in

connection ,, ith the prosecution of this matter.

                SECOND CAUSE OF ACTION: DECLARATORY JUDGMENT

                  Plaintiff incorporates and re-alleges the paragraphs above .

          58 .    This cause of action is brought pursuant to 28 U.S .C. § 220 l and Fed R. Civ.

P. 57 and/or Minn . Stat.~ 555.01 et. seq . and Minn. R. Civ . Pro. 57 .

          59 .    Plaintiff seeks and is entitled to a judgment declaring that the Facility. as of

the date thi s matter ,vas commenced, was being operated unlawfully and in violation of the

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ADA and its implementing regulations for reasons including. but not necessarily limited to

the unlawful deni al of full and equal enjoyment of use. unlawful violations of the ADA

accessible design standards. unlawful failure   10   remove architectural harriers. and unlawful

policies. practices and/or procedures identified above.

       WHEREFORE. Plaintillrespeclfully requests:

       a.     That the Court issue a Declaratory Judgment determining that Defendants '

faci lity. at the commencement of this instant suit. was being operated in violation of Title

Ill nf the ADA. 42 U.S.C. § 12181 , et seq .. and the relevant implementin g regulations .

       b.     That the Court issue a pemrnnent injunction . pursuant to 42 U.S .C.             ~


l 2 l 88(a)(2). 28 C.F.R.    ~   36.504(a) enjoining Defendants from continuing their

discriminatory practices: including an order directing Defendants to make read ily

achievable alterations o their facility so as to remove architectural harriers to access and

make their facility fully accessible to and independently usable by individuals \Vith

di sabilities to the extent required by the ADA and enjoining operation of the Facility until

such time as the alteration s are compl eted:

       c.     That the Court issue a permanent injunction, pursuant to 42 U. S.C.              ~


12 l 88(a )(2) , 28 C.F.R. § 36.504(a) enjoining Defendants to make reasonable modifications

in poli cies. practices and/or procedures necessary l o ensure cun-ent and ongoing

compliance ,virh the ADA and enjoining operation of the Facility until such time as the

rnodificalions are made and implemented :




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       d.     That the Court award Plaintiff injunctive relief in th e form of a nominal

monetary sum:

       e.     That the Court award Plaintiff hi s reasonable attorneys' fees. liti gati on

expenses. and costs of su it pursuant to 42 U.S .C. § 12205. 28 C.F .R . § 36.505. or as

othe1'\vise provided by law: and

       f.     That the Com1 issue such other relief as it deems just and proper, and/or is

allmvable under Title Ill of the ADA.

Dated: May   :;l.£_, 2020                 THRONDSET MICHENFELDER, LLC


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       The undersigned herehy acknowledges that costs. di sbursement. and reasonable
attorney fees may be aYvarded to the opposing party or parties pursuant to Minn . Stat. §
549.221

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